Case 5:20-cv-00064-JSM-PRL Document1 Filed 02/14/20 Page 1 of 8 PagelD 1

UNITED STATES DISTRICT COURT
MIDDLE DISTRICT OF FLORIDA

MARIA GALLAGHER, Individually,

 

Plaintiff,
Case No.:

VS.
STEAK N SHAKE INC., an Indiana
Corporation,

Defendants. 3

/
COMPLAINT

(injunctive Relief Demanded)

Plaintiff, MARIA GALLAGHER, Individually, on his behalf and on behalf of all other
mobility impaired individuals similarly situated, (sometimes referred to as “Plaintiff”), hereby sues
the Defendant, STEAK N SHAKE INC., an Indiana Corporation (sometimes referred to as
“Defendant”), for Injunctive Relief, and attorney’s fees, litigation expenses, and costs pursuant to
the Americans with Disabilities Act, 42 U.S.C. § 12181 et seq. (“ADA”).

1. Plaintiff, Maria Gallagher, is an individual residing at 2886 Fernley Drive E, Unit 61, West
Palm Beach, FL 33415.

2. Defendant’s venue is properly located in the Middle District of Florida because venue lies
in the judicial district of the property situs. The Defendant’s property is located in and
does business within this judicial district.

3. Pursuant to 28 U.S.C. § 1331 and 28 U.S.C. § 1343, this Court has been given original
jurisdiction over actions which arise from the Defendant’s violations of Title III of the
Americans with Disabilities Act, 42 U.S.C. § 12181 et seq. See also 28 U.S.C. § 2201 and

§ 2202.
Case 5:20-cv-00064-JSM-PRL Document1 Filed 02/14/20 Page 2 of 8 PagelD 2

Plaintiff Maria Gallagher, is sui juris, and qualifies as an individual with disabilities as
defined by the ADA. Because of the condition of her hip, chronic right trochanteric
bursitis, she gets around when going short distances, by the use of a walker or a cane; while
going longer distances, she gets around through the use of a wheelchair.

Plaintiff has personally encountered architectural barriers at the subject property, which
barriers are enumerated herein.

Defendant owns, leases (or leases to), or operates a place of public accommodation as
defined by the ADA and the regulations implementing the ADA, 28 CFR 36.201(a) and
36.104. Defendant is responsible for complying with the obligations of the ADA. The
place of public accommodation that the Defendant owns, operates, leases, or leases to is
known as Steak N Shake, and is located at 3509 US Hwy 98 N, Lakeland, FL 33809.

Ms. Gallagher has visited the subject restaurant numerous times, and intends to return to
the subject Steak N Shake in the near future. Ms. Gallagher regularly visits the Lakeland
area to visit her sister-in-law.

Maria Gallagher has a realistic, credible, existing and continuing threat of discrimination
from the Defendants’ non-compliance with the ADA with respect to this property as
described but not necessarily limited to the allegations in paragraph 10 of this Complaint.
Ms. Gallagher has reasonable grounds to believe that she will continue to be subjected to
discrimination in violation of the ADA by the Defendant. Maria Gallagher desires to visit
the Steak N Shake not only to avail herself of the goods and services available at the
property but to assure himself that this property is in compliance with the ADA so that she
and others similarly situated will have full and equal enjoyment of the property without

fear of discrimination.
Case 5:20-cv-00064-JSM-PRL Document1 Filed 02/14/20 Page 3 of 8 PagelD 3

10.

b)

c)

d)

The Defendant has discriminated against the individual Plaintiff by denying him access to,
and full and equal enjoyment of, the goods, services, facilities, privileges, advantages
and/or accommodations of the buildings, as prohibited by 42 U.S.C. § 12182 et seq.

The Defendant has discriminated, and is continuing to discriminate, against the Plaintiff in

violation of the ADA by failing to, inter alia, have accessible facilities by January 26, 1992

 

(or January 26, 1993, if Defendants have 10 or fewer employees and gross receipts of
$500,000 or less). A preliminary inspection of Steak N Shake has shown that violations
exist. These violations, which were personally encountered or observed by Plaintiff

Maria Gallagher include, but are not limited to:
Accessible Route

The plaintiff had difficulty traversing the facility due to site arrival points not providing
accessible routes to the entrances they serve due to the unevenness of the accessible
parking stall causing a change in level greater than a 4 inch, in violation of sections
206.2.2 in the 2010 ADA Standards, whose resolution is readily achievable.

Parking

The plaintiff had difficulty traversing the accessible parking stall due to the unevenness in
the surface greater than a 1/4 inch vertical change in level, in violation of section 303.2 in
the 2010 Ada Standards, whose resolution is readily achievable.

Entrance

The plaintiff had difficulty entering the facility due to the landing at the entrance door
having a slope greater than 2% in any direction, in violation of section 404.2.4.4 in the
2010 ADA Standards, whose resolution is readily achievable.

Dining Area

The plaintiffhad difficulty utilizing the bar and tables due to the restaurant not providing at
least 5% of accessible seating at the bar and tables as required, in violation of sections
226.1 and 226.2 in the 2010 ADA Standards, whose resolution is readily achievable.
Case 5:20-cv-00064-JSM-PRL Document1 Filed 02/14/20 Page 4 of 8 PagelD 4

11.

12.

oF)

g)

h)

j)

k)

I)

The plaintiff had difficulty sitting at the bar due to the height of the counter exceeding the
maximum allowance of 30 inches above the finished floor, in violation of section 902.4.2
in the 2010 ADA Standards, whose resolution is readily achievable.

The plaintiff had difficulty utilizing the service counter due to the height exceeding 36
inches above the finished floor, in violation of section 904.4.1 in the 2010 ADA Standards,
whose resolution is readily achievable.

Women’s Restroom

The plaintiff had to use caution when utilizing the lavatory due to the water lines and drain
pipes not being insulated as required, in violation of section 606.5 in the 2010 ADA
Standards, whose resolution is readily achievable.

The plaintiff had difficulty utilizing the toilet paper dispenser due to it being mounted
farther than 7-9 inches in front of the water closet, in violation of section 604.7 in the 2010
ADA Standards, whose resolution is readily achievable.

The plaintiff had difficulty utilizing the water closet due to the plunger and trash receptacle
obstructing the clear floor space for the water closet, in violation of section 604.3.1 in the
2010 ADA Standards, whose resolution is readily achievable.

The plaintiff had difficulty utilizing the side wall grab bar due to the toilet paper dispenser
being mounted too close to the side wall grab bar, in violation of section609.3 in the 2010
ADA Standards, whose resolution is readily achievable.

The plaintiffhad difficulty operating the stall door due to the door not providing a u-shaped
pull on the outside of the stall door and not providing a door self-closer as required, in

violation of section 604.8.1.2 in the 2010 ADA Standards, whose resolution is readily
achievable.

Maintenance

The accessible features of the facility are not maintained, creating barriers to access for
the Plaintiff, as set forth herein, in violation of 28 CFR §36.211.

All of the foregoing violations are also violations of the 1991 Americans with Disabilities
Act Accessibility Guidelines (ADAAG), and the 2010 Standards for Accessible Design,
as promulgated by the U.S. Department of Justice.

The discriminatory violations described in paragraph 9 are not an exclusive list of the
Case 5:20-cv-00064-JSM-PRL Document1 Filed 02/14/20 Page 5 of 8 PagelD 5

13.

Defendant’s ADA violations. Plaintiff requires the inspection of the Defendant’s place
of public accommodation in order to photograph and measure all of the discriminatory
acts violating the ADA and all of the barriers to access. The individual Plaintiff, and all
other individuals similarly situated, have been denied access to, and have been denied the
benefits of services, programs and activities of the Defendant’s building and its facility,
and have otherwise been discriminated against and damaged by the Defendant’s because
of the Defendant’s ADA violations, as set forth above. The individual Plaintiff, and all
others similarly situated will continue to suffer such discrimination, injury and damage
without the immediate relief provided by the ADA as requested herein. In order to
remedy this discriminatory situation, the Plaintiff requires an inspection of the
Defendant’s place of public accommodation in order to determine all of the areas of
non-compliance with the Americans with Disabilities Act.

Defendant has discriminated against the individual Plaintiff by denying him access to full
and equal enjoyment of the goods, services, facilities, privileges, advantages and/or
accommodations of its place of public accommodation or commercial facility in violation
of 42 U.S.C. § 12181 et.seg. and 28 CFR 36.302 et_seq. Furthermore, the Defendant
continues to discriminate against the Plaintiff, and all those similarly situated by failing to
make reasonable modifications in policies, practices or procedures, when such
modifications are necessary to afford all offered goods, services, facilities, privileges,
advantages or accommodations to individuals with disabilities; and by failing to take such
efforts that may be necessary to ensure that no individual with a disability is excluded,
denied services, segregated or otherwise treated differently than other individuals because

of the absence of auxiliary aids and services.

5
Case 5:20-cv-00064-JSM-PRL Document1 Filed 02/14/20 Page 6 of 8 PagelD 6

14.

15.

16.

17.

Plaintiff is without adequate remedy at law and is suffering irreparable harm.
Considering the balance of hardships between the Plaintiff and Defendant, a remedy in
equity is warranted. Furthermore, the public interest would not be disserved by a
permanent injunction. Plaintiff has retained the undersigned counsel and is entitled to
recover attorney’s fees, costs and litigation expenses from the Defendant pursuant to 42
U.S.C. § 12205 and 28 CFR 36.505.

Defendant is required to remove the existing architectural barriers to the physically
disabled when such removal is readily achievable for its place of public accommodation
that have existed prior to January 26, 1992, 28 CFR 36.304(a); in the alternative, if there
has been an alteration to Defendant’s place of public accommodation since January 26,
1992, then the Defendant is required to ensure to the maximum extent feasible, that the
altered portions of the facility are readily accessible to and useable by individuals with
disabilities, including individuals who use wheelchairs, 28 CFR 36.402; and finally, if the
Defendant’s facility is one which was designed and constructed for first occupancy
subsequent to January 26, 1993, as defined in 28 CFR 36.401, then the Defendant’s
facility must be readily accessible to and useable by individuals with disabilities as
defined by the ADA.

Notice to Defendants is not required as a result of the Defendant’s failure to cure the
violations by January 26, 1992 (or January 26, 1993, if Defendants have 10 or fewer
employees and gross receipts of $500,000 or less). All other conditions precedent have
been met by Plaintiff or waived by the Defendant.

Pursuant to 42 U.S.C. § 12188, this Court is provided with authority to grant Plaintiff
Injunctive Relief, including an order to require the Defendant to alter Steak N Shake to

6
Case 5:20-cv-00064-JSM-PRL Document1 Filed 02/14/20 Page 7 of 8 PagelD 7

make those facilities readily accessible and useable to the Plaintiff and all other persons

with disabilities as defined by the ADA; or by closing the facility until such time as the

Defendant cures its violations of the ADA.

WHEREFORE, Plaintiff respectfully requests:

a.

The Court issue a Declaratory Judgment that determines that the Defendant at the
commencement of the subject lawsuit are in violation of Title III of the Americans
with Disabilities Act, 42 U.S.C. § 12181 et seq.

Injunctive relief against the Defendant including an order to make all readily
achievable alterations to the facility; or to make such facility readily accessible to
and usable by individuals with disabilities to the extent required by the ADA; and
to require the Defendant to make reasonable modifications in policies, practices or
procedures, when such modifications are necessary to afford all offered goods,
services, facilities, privileges, advantages or accommodations to individuals with
disabilities; and by failing to take such steps that may be necessary to ensure that no
individual with a disability is excluded, denied services, segregated or otherwise
treated differently than other individuals because of the absence of auxiliary aids
and services.

An award of attorney's fees, costs and litigation expenses pursuant to 42 U.S.C.
§ 12205.

Such other relief as the Court deems just and proper, and/or is allowable under

Title II] of the Americans with Disabilities Act. The Order shall further require
Case 5:20-cv-00064-JSM-PRL Document1 Filed 02/14/20 Page 8 of 8 PagelD 8

the Defendant to maintain the required accessible features on an ongoing basis.

Respectfully Submi
MNie~

John PA Fu er, Esq., FBN 276847
FULLER, ULLER & ASSOCIATES, P.A.
12000 Biscayne Blvd., Suite 502

North Miami, FL 331 81

Telephone: (305) 891-5199

Facsimile: (305) 893-9505
